  Case 19-00149-SMT                         Doc 19 Filed 03/21/19 Entered 03/22/19 00:11:21                                           Desc Imaged
                                                 Certificate of Notice Page 1 of 4
 Information to identify the case:

 Debtor 1:
                       Thomas K. Stephenson                                             Social Security number or ITIN:    xxx−xx−2621
                                                                                        EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 Debtor 2:                                                                              Social Security number or ITIN: _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:        United States Bankruptcy Court for the           Date case filed for chapter:         11      3/12/19
 District of Columbia
            19−00149−SMT
 Case number:

Official Form 309E (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/15

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                                  About Debtor 1:                                           About Debtor 2:
 1. Debtor's full name                            Thomas K. Stephenson

 2. All other names used in the
    last 8 years

                                                  711 49th Street, NE
 3. Address                                       Apt #1A
                                                  Washington, DC 20019−4815

 4. Debtor's attorney                             Charles M. Maynard                                     Contact phone 301−294−6003
       Name and address                           401 East Jefferson Street
                                                  Suite 208                                              Email CMaynard@MaynardLawGroup.com
                                                  Rockville, MD 20850

 5. Bankruptcy clerk's office                                                                             Hours open:
       Documents in this case may be filed                                                                9:00 am − 4:00 pm Monday to Friday
                                                  E. Barrett Prettyman U. S. Courthouse
       at this address.                           333 Constitution Ave, NW #1225
       You may inspect all records filed in                                                               Contact phone (202) 354−3280
                                                  Washington, DC 20001
       this case at this office or online at
       www.pacer.gov.                                                                                     Date: 3/19/19

                                                                                                           For more information, see page 2 >




Official Form 309E (For Individuals or Joint Debtors)                    Notice of Chapter 11 Bankruptcy Case                                         page 1
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Debtor Thomas K. Stephenson                                                                                                  Case number 19−00149−SMT

 6. Meeting of creditors                                                                                     Location:
     Debtors must attend the meeting to      April 18, 2019 at 01:00 PM                                      333 Constitution Ave., N.W., Room
     be questioned under oath. In a joint                                                                    1207, First Floor, Washington, DC
     case, both spouses must attend.         The meeting may be continued or adjourned to a later            20001
     Creditors may attend, but are not       date. If so, the date will be on the court docket.
     required to do so.

 7. Deadlines                               File by the deadline to object to discharge or                    First date set for hearing on confirmation of plan.
    The bankruptcy clerk's office must      to challenge whether certain debts are                            The court will send you a notice of that date
    receive these documents and any                                                                           later.
    required filing fee by the following    dischargeable:
    deadlines.
                                            You must file a complaint:                                        Filing deadline for dischargeability
                                            • if you assert that the debtor is not entitled to                complaints: 6/17/19
                                              receive a discharge of any debts under
                                              11 U.S.C. § 1141(d)(3) or
                                            • if you want to have a debt excepted from discharge
                                              under 11 U.S.C § 523(a)(2), (4), or (6).


                                            Deadline for filing proof of claim:
                                            For all creditors (except a governmental unit): 7/29/19
                                            For a governmental unit:                        9/9/19
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                            Your claim will be allowed in the amount scheduled unless:
                                            • your claim is designated as disputed, contingent, or unliquidated;
                                            • you file a proof of claim in a different amount; or
                                            • you receive another notice.

                                            If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must
                                            file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You
                                            may file a proof of claim even if your claim is scheduled.
                                            You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.
                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof
                                            of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                            explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                            rights, including the right to a jury trial.


                                            Deadline to object to exemptions:                                 Filing Deadline:
                                            The law permits debtors to keep certain property as               30 days after the conclusion of the meeting of
                                            exempt. If you believe that the law does not authorize an         creditors
                                            exemption claimed, you may file an objection.

                                             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                             is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                             business.

                                            Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                            See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                            all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                            from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                     should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                            and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                            entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                            the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                            send you another notice telling you of that date.

                                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                            distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                        as exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                            believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                            bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.




Official Form 309E (For Individuals or Joint Debtors)                     Notice of Chapter 11 Bankruptcy Case                                               page 2
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                                               United States Bankruptcy Court
                                                   District of Columbia
In re:                                                                                                     Case No. 19-00149-SMT
Thomas K. Stephenson                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0090-1                  User: admin                        Page 1 of 2                          Date Rcvd: Mar 19, 2019
                                      Form ID: 309E                      Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 21, 2019.
dbpos           Thomas K. Stephenson,    711 49th Street, NE,     Apt #1A,    Washington, DC 20019-4815
aty            +Joseph A. Guzinski,   DOJ-Ust,     1725 Duke St.,    Suite 650,    Alexandria, VA 22314-3489
smg             Child Support Services Division,     Office of the Attorney General,
                 Judiciary Square 441 4th Street, NW,     5th Floor,    Washington, DC 20001
smg            +District Unemployment Compensation Board,     4058 Minnesota Ave., NE,     4th Floor,
                 Washington, DC 20019-3540
smg            +Office of Attorney General,    Tax, Bankruptcy, and Finance,      One Judiciary Square,
                 441 4th Street, NW,    6th Floor,    Washington, DC 20001-2714
smg             Secretary of the Treasury,    15th and Pennsylvania Aveneu, NW,      Washington, DC 20220-0001
smg             U.S. Attorney’s Office,    Civil Division - Judiciary Ct. Building,      555 4th St., N.W.,
                 4th Floor,   Washington, DC 20001-2733
ust            +U. S. Trustee for Region Four,     U. S. Trustee’s Office,     1725 Duke Street,    Suite 650,
                 Alexandria, VA 22314-3489
725938          Benjamin P. Smith, Esq.,    Shulman, Rogers, Gandal, Pordy & Ecker,,
                 12505 Park Potomac Ave Fl 6,    Potomac, MD 20854-6803
726106         +District of Columbia,    Office of the Attorney General,      441 4th Street, N.W.,
                 Washington, DC 20001-2714
725939          Eagle Bank,   6010 Executive Blvd Fl 8,     Rockville, MD 20852-3809
725940          Jessica Hepburn Sadler, Esq.,    Ballard Spahr, LLP,     1909 K St NW Fl 12,
                 Washington, DC 20006-1152
725941         +John D. Sadler, Esq.,    Ballard Spahr,    1909 K St NW Fl 12,     Washington, DC 20006-1117
725942          Karen A. Bower,   Law office of Karen Bower,      1629 K St NW Ste 300,
                 Washington, DC 20006-1631
726117         +Nancy L. Alper,   Senior Assistant Attorney General,       441 Fourth Street, N.W., Suite 1010S,
                 Washington, DC 20001-2714
725943          Robyn Bender, Esq.,   Office of the Attorney General,       441 4th St NW Ste 630S,
                 Washington, DC 20001-2714

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: CMaynard@MaynardLawGroup.com Mar 19 2019 23:59:37      Charles M. Maynard,
                 401 East Jefferson Street,   Suite 208,    Rockville, MD 20850
smg            +E-mail/Text: angela.coleman@dc.gov Mar 19 2019 23:59:38      D.C. Office of Tax and Revenue,
                 Bankruptcy Division,   1101 4th Street SW,    Washington, DC 20024-4457
smg             EDI: IRS.COM Mar 20 2019 04:08:00     Internal Revenue Service,    P.O. Box 7346,
                 Philadelphia, PA 19101-7346
smg             E-mail/Text: atlreorg@sec.gov Mar 19 2019 23:59:39      Securities and Exchange Commission,
                 Atlanta Regional Office,   Office of Reorganization,    950 East Paces Ferry Road NE, Ste. 900,
                 Atlanta, GA 30326-1382
725937          E-mail/Text: bankruptcy@bbandt.com Mar 19 2019 23:59:38      BB&T Company,   PO Box 1847,
                 Wilson, NC 27894-1847
                                                                                             TOTAL: 5

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
smg*              Internal Revenue Service,   P.O. Box 7346,   Philadelphia, PA                     19101-7346
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 21, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 19, 2019 at the address(es) listed below:
              Charles M. Maynard   on behalf of Debtor In Possession Thomas K. Stephenson
               CMaynard@MaynardLawGroup.com
              Jessica Hepburn Sadler   on behalf of Creditor   Branch Banking and Trust Company
               sadlerjh@ballardspahr.com, andersonn@ballardspahr.com
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District/off: 0090-1          User: admin                 Page 2 of 2                  Date Rcvd: Mar 19, 2019
                              Form ID: 309E               Total Noticed: 21


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              John D. Sadler   on behalf of Creditor   Branch Banking and Trust Company sadlerj@ballardspahr.com
              Joseph A. Guzinski   on behalf of U.S. Trustee   U. S. Trustee for Region Four
               Joseph.A.Guzinski@usdoj.gov, USTPRegion04.DC.ECF@USDOJ.GOV;Bradley.D.Jones@usdoj.gov
              Nancy L. Alper   on behalf of Creditor   District of Columbia nancy.alper@dc.gov
              U. S. Trustee for Region Four   USTPRegion04.DC.ECF@USDOJ.GOV
                                                                                             TOTAL: 6
